AO 93 (Rev. 11/13) Search and Seizure Warrant



                                            UNITED STATES DISTRICT COURT
                                                                             for the
                                                                Middle District of Tennessee

                  In the Matter of the Search of                                )
              (Briefly describe the property to be sem•ched                     )                                A     M                4
               or identify the person by name and addi-ess)                     )      Case No.                  ®     •
         THE CELLULAR TELEPHONE ASSIGNED CALL                                   )
                  NUMBER (615) 445-0787                                         )


                                                    SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the            Middle            District of              Tennessee
(identify the person or describe the property to be searched and give its location):

      See Attachment A - incorporated by reference




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B - incorporated by reference




          YOU ARE COMMANDED to execute this warrant on or before                  March 18, 2019         (not to exceed 14 days)

       0 in the daytime 6:00 a.m. to 10:00 p.m. Qf at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                     Hon. Jeffery S. Frensley
                                                                                                    (United States dtagisb•ate Judge)

     Wr Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appi-opriate box)
     91' for 30 days (not to exceed 30) 0 until, the facts justifying, the later specific date of


                                                                                                                        ~a
Date and time issued:                 4i~       ►          to
                                                                                                              ydg s signature

City and state:             Nashville, TN                                                     Hon. Jeffery S. Frensley, Magistrate Judge
                                                                                                          Printed name and title



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                                                                   Return
Case No.:                                Date and time warrant executed:         Copy of warrant and inventory left with:
   19-MJ-2064                             03/04/2019 1:41 pm                     Sprint
Inventory made in the presence of
   TFO Raechel Haber
Inventory of the property taken and name of any person(s) seized:

   Location Data for 615-445-0787.

   Start Date: April 4, 2019 at 2:08 pm.
   End Date: April 3, 2019.




                                                                 Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:             05/13/2019
                                                                                          Executing officer's signature

                                                                                          Raechel Haber, TFO
                                                                                             Printed name and title




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